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                             United States District Court
                            Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                           Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




            PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
               MOTION IN LIMINE TO EXCLUDE REFERENCES TO
                 “CRIME VICTIMS’ RIGHTS ACT” LITIGATION




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 17th day of March, 2017, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

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